                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                           Plaintiff,                  Case No. 02-CR-75
             v.

GILFREDO GALINDO,

                           Defendant.


                  ORDER GRANTING LEAVE FOR DISMISSAL
                     THE SUPERSEDING INDICTMENT


      Upon the government's request and pursuant to Rule 48(a) of the Federal Rules of

Criminal Procedure,

      IT IS HEREBY ORDERED that leave of the court is granted for the filing of the

forgoing dismissal without prejudice of the superseding indictment in the above-

referenced matter against the defendant, Gilfredo Galindo.

      SO ORDERED this 23rd day of September 2005.



                                         s/ Rudolph T. Randa
                                         HON. RUDOLPH T. RANDA
                                         Chief United States District Judge




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